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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:06CR3023
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )         ORDER
CHARLES BOWERS,                             )
                                            )
                    Defendant.              )


      IT IS ORDERED that:

      (1)    The defendant’s motion to continue sentencing (filing 137) is granted.

       (2)    The defendant’s sentencing is continued to Tuesday, July 17, 2007, at 12:30
p.m., before the undersigned United States district judge, in Courtroom No. 1, Robert V.
Denney Federal Building and U.S. Courthouse, Lincoln, Nebraska. The defendant shall be
present unless excused by the court.

      April 17, 2007.                    BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
